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IN THE CIRCUIT COURT OF THE TWENTIETH JUDICIAL CIRCUIT
IN AND FOR COLLIER COUNTY FLORIDA

CIVIL ACTION
IN RE THE MATTER OF:

CLARK JOHN PEAR, CLARK PEAR LLC,
Plaintifi(s),

vs. Case No: 11-2023-CA-000111-0001-XX

MVP REALTY ASSOCIATES LLC, DEREK
CARLSON,
Defendant(s).
/

ORDER OF REFERRAL TO THE MAGISTRATE

THIS CAUSE came on before the court upon the court’s own motion and the Court, being duly
advised in the premises, it is

ORDERED that this is referred to General Magistrate Pamela Barger for further proceedings,
pursuant to Rule 1.490(a), Rule 1.490(c), Florida Rules of Civil Procedure, and current Administrative
Orders of the Court. This referral is subject to the consent of all parties, pursuant to Rule 1.490(c) of the
Florida Rules of Civil Procedure. The Magistrate shall hold such hearings as deemed necessary and shall
file, as soon as practicable, a Recommended Order of the General Magistrate.

IF REQUIRED BY THE MAGISTRATE, THE ATTORNEYS SHALL PREPARE A
RECOMMENDED ORDER OF THE MAGISTRATE. FAILURE TO SUBMIT SAID
RECOMMENDED ORDER OF THE MAGISTRATE GN A TIMELY BASIS MAY RESULT IN
SANCTIONS BEING IMPOSED BY THE CIRCUIT COURT JUDGE.

THIS CASE IS REFERRED TO THE MAGISTRATE on the following issues:

DX All Discovery Motions LO | Motion for Contempt

Ol | Motton for Protective Order 1 | Motion for Sanctions

O | Motton for Extension of Time C1 | Motion to Add/Substitute Parties

Ol | Motion to Withdraw C1 +| Motion to Intervene

Ol | Motion Directed to Pleadings C1 | Order to Show Cause

Ol | Motion to Amend Ol | Summary Judgment

Ol s| Pretrial Conference LI | Motion for Attorney’s Fees/Costs

Cl | Status/Case Management Conference LO | Trial/Fmal Judgment

Ol | Motion to Compel: oO | Motion to Dismiss

1 | Motion to Strike: Other: 1) Defendant's Motion to Strike
Plamtiffs Complaint and Motion to
Quash (Docket #12), 2) MVP'S
Motion to Strike Plaintiffs Complaint,
Quash Service, or in the alternative,
for more Definite Statement; and to
Compel Separate Statements of Claim
(Docket #15)

FILED: COLLIER COUNTY, CRYSTAL K. KINZEL, CLERK, 02/27/2023 10:08:07 AM
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AND ANY OTHER MATTER RELATED THERETO.

IT IS FURTHER ORDERED that the above matter(s) and responses are referred to Magistrate
Pamela Barger for further proceedings, pursuant to the applicable Florida Rules of Procedure and current
administrative orders of the court. A time and place shall be assigned for the proceedings as soon as
reasonably possible after this referral is made and notice shall be given to each of the parties either by the
Magistrate or one or more of the parties.

A REFERRAL TO A MAGISTRATE REQUIRES THE CONSENT OF ALL PARTIES.
YOU ARE ENTITLED TO HAVE THIS MATTER HEARD BY A JUDGE. IF YOU DO NOT
WANT TO HAVE THIS MATTER HEARD BY THE MAGISTRATE, YOU MUST FILE A
WRITTEN OBJECTION TO THE REFERRAL WITH THE CLERK OF COURT PRIOR TO
COMMENCEMENT OF THE HEARING. A COPY OF THE WRITTEN OBJECTION SHALL
ALSO BE PROVIDED TO THE CIRCUIT JUDGE ASSIGNED TO THE CASE. FAILURE TO
FILE A WRITTEN OBJECTION IS DEEMED TO BE CONSENT TO THE REFERRAL. IF AN
OBJECTION IS FILED, THE PARTY OR THE PARTY’S COUNSEL IS ADVISED THAT TO
AVOID THE POSSIBLE IMPOSITION OF SANCTIONS, TO FILE SAID OBJECTION BOTH IN
WRITING AND IN A TIMELY MANNER, WHICH WILL PROMOTE PROFESSIONAL
COURTESY AND AVOID UNNECESSARY INCONVENIENCE TO THE COURT AND THE
OPPOSING PARTY.

The General Magistrate is authorized to administer oaths and conduct hearings, as may be deemed
necessary, which may include the taking of evidence. As soon as practicable, the General Magistrate shall
file a Report and Recommendation, that contains findings of fact, conclusions of law, and the
recommendation as to a ruling by the Court, and shall submit, as may be appropriate, a Recommended Order
of General Magistrate.

Review of the Report and Recommendation made by the General Magistrate shall be by
exceptions filed within 10 days after it is served, as provided in Rule 1.490(h), Florida Rules of Civil
Procedure. Any party may file cross-exceptions within 5 days from the service of the exceptions. If no
exceptions are timely filed, the Court shall take appropriate action on the report. If exceptions are timely
filed, the Court shall resolve the exceptions at a hearing on reasonable notice.

Any party filing exceptions will be required to provide the Court with a record sufficient to
support the exceptions, or the exceptions may be denied. A record sufficient to support exceptions may
require a written transcript of the relevant proceedings. The record shall include the court file, designated
portions of the transcript of proceedings before the General Magistrate, and all depositions and evidence
presented to the General Magistrate. The designated transcript portions must be delivered to the Court
and all other parties at least 48 hours before the hearing. If the party filing exceptions prepares less than a
full transcript of the proceeding before the General Magistrate, that party must promptly file a notice
designating the portions of the transcript that will be transcribed, and the other parties must be given
reasonable time after service of the notice to arrange for the preparation and designation of other portions
of the transcript for the Court to consider at the hearing.

Though civil proceedings before a Judge are not electronically recorded by the Court, parties are advised
that civil proceedings before a Magistrate will be electronically recorded by the Court. However any party
may elect to provide a live Court Reporter at that party’s own expense. If a live Court Reporter is provided
by either party, requests for transcripts must be submitted to that Court Reporter. Ifno live Court Reporter
is provided by a party, a party may request an electronic certified copy of the proceeding on CD, at that
party’s expense, and may then have the recording transcribed, at that party’s expense. Providing the Court
with a copy of the CD, instead of a certified written transcript, is insufficient for review of exceptions by
the Court. Media request forms, procedures, and fees, and a list of approved Transcriptionists are available
on the Court’s website, www.ca.cjis20.org , or by callmg the Court’s Electronic Court Reporting
Department at 239-252-8800.

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DONE AND ORDERED in Naples, Collier County, Florida on this 27th day of February, 2023.

Brodie, Lauren L in 11-2023-CA-000111-0001-XX 02/27/2023 10:07:04 e4iHkyJW

Lauren L. Brodie, Circuit Court Judge

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